           Case MDL No. 3010 Document 265 Filed 09/20/24 Page 1 of 1




                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


 IN RE:
                                                                               MDL No. 3010
 GOOGLE DIGITAL ADVERTISING
 ANTITRUST LITIGATION

    NOTICE OF OPPOSITION TO CONDITIONAL TRANSFER ORDER (CTO-11)

       In accordance with Rule 7.1(c) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Defendants Google LLC and Alphabet Inc. submit this

opposition to Conditional Transfer Order (CTO-11) relating to the following case.



Rumble Canada Inc. v. Google LLC et al., N.D. California, 5:24-cv-02880




 Dated: September 20, 2024                       Respectfully submitted,

                                                 /s/ Justina K. Sessions
                                                 Justina K. Sessions
                                                 FRESHFIELDS BRUCKHAUS DERINGER
                                                 US LLP
                                                 855 Main Street
                                                 Redwood City, CA 94063
                                                 Telephone: (650) 618-9250
                                                 Facsimile: (650) 651-1530
                                                 Email: justina.sessions@freshfields.com

                                                 Counsel for Defendants Google LLC and
                                                 Alphabet Inc.
